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                                                                                         S OFFICE
      ~. .s   Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 1 of 20 U.S.D. C.RK'
                                                                                       Atlanta

                                                                                     JUN Q 92008
                                                                              JAMES N . HATTEN, Clerk


                       IN THE UNITED STATES DISTRICT COURT
~   NORTHERN         DISTRICT OF GEORGIA
                                ATLANTA DIVISION                           L ...~`



       SOLOMON R . VEREEN,

              Plaintiff,                                  CIVIL ACTION FILE
                                                          NO- ~     8    _.
                                                                        f%V           ~ 969
       V.
       MAJOR EVERETT, OSMOND CONSULTING,
       EHHK CONSTRUCTION, LLC, MANN &
       MORAN, PC, IMPAC FUNDING CORP .,
       MONICA K . GILROY, ADAM SILVER,
       MCCALLA RAYMER, LLC, COUNTRYWIDE
                                                                                     RNVIS11
       HOME LOA N S, DEUTSCHE BANK, JOHN
       ROBINSON, GERALD ROEBUCK AND
       JEVORA HALL,

                    Defendants .


                                           COMPLAINT

              COMES NOW Solomon R . Vereen, Plaintiff in the above-styled

       action and shows to the Court the following :

                                         JURISDICTION

                                               1.

              The Court has jurisdiction pursuant to the Fifth and

       Fourteenth Amendments of the United States Constitution as well

       as the Constitution of the State of Georgia . Additional

       jurisdiction is predicated upon 42 U .S .C . 1983 et .            seq . due to

       the civil rights violation .
     Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 2 of 20




                                 PARTIES

                                    2.

     Plaintiff resides at 7372 Vista Pointe Trail, City of Stone

Mountain, County of DeKalb, State of Georgia and is subject to

the Court's jurisdiction .

                                    3.

     Defendant Major Everett ,    is subject to the jurisdiction of

this Court and may be serve at MAJ Thirty-Nine, Inc ., 3355 Lenox

Road, Suite 750, Atlanta, Georgia 30326 .

                                    4.

     Defendant Osmond Consulting, LLC, is subject to the

jurisdiction of this Court and may be served at 5231-E Memorial

Drive #246, Stone Mountain, Georgia 30083

                                    5.

     Defendant EHHK Consulting, LLC is sub]ect to the

jurisdiction of this Court and may be served at 5231-E Memorial

Drive, #246, Stone Mountain, Georgia 30083 .

                                    6.

     Defendant Monica K . Gilxoy, is subject to the jurisdiction

of this Court and may be served at Dickenson Gilroy, LLC,            3780

iyianseil Road, Suite 140, Alpharetta, Georgia       30022




                                    2
      Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 3 of 20




                                     7    .
      Defendant Adam Silver is subject to the jurisdiction of

this Court and may be served at Six Concourse Parkway, Suite

3200, Atlanta, Georgia 30328

                                     8 .

      Defendant McCalla Raymer, LLC is subject to the

jurisdiction of this Court and may be served at 1544 Old Alabama

Road, Roswell, Georgia 30076 .

                                     9.

      Defendant Countrywide Home Loans (hereinafter

"Countrywide") is subject to the jurisdiction of this Court and

may be served at c/o Prentice-Hall Corporation System, 40

Technology Parkway South, #300, Norcross, Georgia 30092 .

                                     10 .

      Defendant Deutsche Bank is subject to the jurisdiction of

this Court and may be served care of its registered agent, CT

Corporation System, 1201 Peachtree Street, N .E ., Atlanta, GA

30361 .

                                     11 .

      Defendant John Robinson is subject to the jurisdiction of

this court and may be served at McLarty, Robinson & Van

voorhi-es, i5u Fast Ponce de Leon Avenue, SuiCe       330,   Decatur,   GA

30030-2553                      /~


                                      3
      Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 4 of 20




                                   12 .

     Defendant Impact Funding Corp . d/b/a Impac Lending Group,

is subject to the jurisdiction of this Court and may be served

care of its registered agent, C T Corporation System, 1201

Peachtree Street, N .E ., Atlanta, GA 30361 .

                                    13 .

     Defendant Mann & Moran, PC is subject to the jurisdiction

of this Court and may be served at 1618 Thompson Avenue, East

Point, Georgia 30344 .

                                    14 .

     Defendant Gerald Roebuck is subject to the jurisdiction of

this Court and may be served at 206 West 137th Street, New York

New York 10030 .

                                    15 .

     Defendant Jevora Hall is subject to the jurisdiction of

this Court and may be served at MAJ, Thirty-Nine, Inc ., 3355

Lenox Road, Suite 750, Atlanta, Georgia 30322

                           STATEMENT OF FACTS

                                    16 .

     It is Plaintiff's position that the Defendants, jointly and

severally, have violated the Plaintiff's civil and due process

rights by the following aces and actions, in pertinent part and

shows the Court the following :          ~


                                     4
     Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 5 of 20




                                   17 .

     In the spring of 2003, Plaintiff entered into a purchase

and sale agreement with the landlord of the property he was

renting at 7372 Vista Pointe Trail, Stone Mountain, Georgia

30087 (the "Property") .

                                   18 .

     The owner of the property, Mr . Gerald Roebuck ("Roebuck"),

did not at any time disclose to Plaintiff that he had filed a

bankruptcy on December 31, 2002 or that the property had been

foreclosed an in March, 2003 . However, Roebuck did disclose his

bankruptcy status to Countrywide, who held the security deed (lst

lien) on the Property and Roebuck's loan was being serviced by

Cauntrywlde's bankruptcy department .

                                   19 .

     This foreclosure was invalid not only because it was done

in violation of the automatic stay but because Defendants EHHK

Construction, LLC ("EHHK"), Everett ("Everett") and Osmond

Consulting ("Osmond"), companies owned by Everett, did not

transfer full and complete title as they did riot have clear

title at the time . They also did not advertise a proper

foreclosure notice ?n the Champion newspaper as required by law .

Furthermore, EvGiE`t has been a named defendant in a federal

case concerning mortgage fraud (i :03-CY"-'14 5 - CAF, Northern
     Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 6 of 20




District of Georgia, 2006), where Everest was convicted of

mortgage fraud and the architect o f the entire scheme .

                                   20 .

     Attorneys for Defendant Countrywide and Deutsche Bank

("Deutsche"), Defendant Monica Gilroy ("Gilroy"), McCalla

Raymer, LLC, and in turn Defendant Adam Silver ("Silver") still

took illegal steps to have Plaintiff evicted from said Property,

even as he pursued all legal avenues to ratify his position as a

bona fide purchase because of the Defendants' failure to follow

property bankruptcy court procedures and abide by the bankruptcy

court law .

                                   21 .

     Plaintiff was offered $5,000 .00 to vacate the Property, or,

if he refused, he will be subject to further legal action, even

though he has appealed the matter to the United States Supreme

Court (Case No . 07-667) .

                                   22 .

     This situation also put stra in on Plaint i ff's m arriage, h i s

financial situation and his health .

                                   23 .

     Mann & Moron,   PC performed a closing for Defendant Everett

axed vszTLorid with clouds pre - existing to property titie . Also

allowed Jevora Hail to sign closing documerrOrs for "straw buyer"


                                    6
          Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 7 of 20




Tavarus Newson as attorney-in-fact without a valid power of

attorney and not filing valid power of attorney on record . Also

Mann & Moran PC, made false and misleading statements to

Impact Funding Corp . ("Impact") in order for $299,250 .00 to be

advanced to Defendants Everett and Osmond with existing title

issues on property .

                                                          24 .

          Countrywide accepted payoff payment from Defendants Everett

and Osmond while Roebuck (Seller) mortgage was in bankruptcy

status in Countrywide system, and with notice of Bankruptcy

Court ' s Order vacating its prior Order granting Osmond relief

from the automatic stay .

                                                          25 .

          Impact Funding willfully sold and assigned its purported

security deed to Deutsche Bank with prior notice and knowledge

of acts of mortgage fraud being committed by Everett and Osmond .

               COUNT ONE - DEFENDANT'S FIFTH AMENDMENT VIOLATIONS

                                                          26 .

          Plaintiff re-alleges paragraphs 1 through 25 above and

incorporate them by reference as if fully set forth herein . It

is Plaintiff's position that the Defendants violated the

Tla   I n c, i f i   S F it   L-h Am E ndIil E iE ti   rights
                                                        4
                                                              under71-6
                                                                   and Pursuant to til

United States constitution, to wit :                                      /'


                                                           7
                Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 8 of 20




                                                                 27 .

                The mortgage fraud of Defendants Everett, EHHK and Osmond

resulted in the unlawful taking of Plaintiff's property in

violation of the Fifth Amendment .

                                                                 28 .

                Defendants Gilroy, McCalla Raymer, LLC and Silver, on

behalf of Defendants Countrywide and Deutsche, knowingly,

intentionally and in violation of Plaintiff's Fifth Amendment

rights, pursued said unlawful taking of Plaintiff's property,

even though evidence was presented that the foreclosure was

invalid, both procedurally, as well as a result of the dismissal

of the bankruptcy that was filed prior to said foreclosure .

                                                                 29 .

                Defendant Robinson, acting as a special master in the

Superior Court of DeKalb County, made erroneous legal

conclusions and ratified the unlawful taking of the property .

                COUNT TWO - DEFENDANTS' FOURTEENTH AMENDMENT VIOLATLONS

                                                                 30 .

                Plaintiff re-alleges paragraphs 1 through 29 above and

incorporate them by reference as if fully set forth herein . It

is Plaintiii's position that the Defendants violated the

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L   1 n .L 1t   L11 1      .7   Fifth   t EZ1 G'1Tic n -IC   ii gi t S   under and pursuant to   .-he
                                                                                                 1C


United State Constitution, to wit :


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     Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 9 of 20




                                      31 .
                                  t
     The mortgage fraud of Defendants Everett, EHHK and Osmond

caused Plaintiff to have to defend his right to the Property,

resulted in the violation of Plaintiff's right to equal

protection and due process under the law .

                                      32 .

     Defendants Gilroy, McCalla Raymer and Silver, on behalf of

Defendants Countrywide and Deutsche, further denied the

Plaintiff of his Fourteenth Amendment rights of equal protection

and due process by continuing to purse legal action against

Plaintiff to evict him from the property, while he was pursuing

the legal process from the Superior Court of DeKalb county,

Supreme Court of Georgia and finally, the Supreme Court of the

United States .

                                      33 .

     Defendant Robinson deprived Plaintiff of his Fourteenth

Amendments rights by erroneously interpreting the controlling

federal bankruptcy law and failing to ensure said law be applied

equally among and between those parties that appeared before

said Court .

                                   34 .

     Defendant Mann & Moran peiforming closing on behalf of

Everett and Osmond with pre-existing title issues(Court o/dered


                                       9
        Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 10 of 20




property back to Roebuck), causing Plaintiff to have to defend

his rights to the Property, resulting in the violation of

Plaintiff's right to equal protection and due process under the

law .

                                       35 .

        Defendant Impac Funding Corp with prior notice and

knowledge of acts of mortgage fraud committed by Everett, Osmond

and Mann & Moran, still sold purported security deed note to

Deutsche causing Plaintiff to have to defend his rights to the

property resulting in the violation of Plaintiff's right to

equal protection and due process under the law .

                                       36 .

        Defendant Roebuck ' s breach of the warranty of title,

causing Plaintiff to have to defend his rights to the property

resulting in violation of Plaintiff's right to equal protection

and due process under the law .

                              PRAYER FOR RELIEF

        WHREFORE, Plaintiff demands a jury trial and the following

relief of the non-immune parties :

        A . Actual damages in the amount of Three Hundred Forty-

Seven Thousand Dollars ($347,000 .00) the value of the property

sought to Le aalidwiuliy taken .

                                                                         /11

                                       10
            Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 11 of 20




            B . compensatory damages in the amount of One Hundred

     Thousand Dollars          ($100,000 .00),      or such mount that the jury may

     determine appropriate to compensate the Plaintiff for the

     emotional harm and injury suffered by the action and actions of

     Defendants .

            C . Punitive damages in the amount of One Million Dollars

     ($1,000,000 .00),        or such amount that the jury may determine

     adequate to ensure that the Defendants never again commit the

     same acts and actions against the Plaintiff or anyone in the

     Plaintiff's position .

            D . That the property records be corrected to reflect the

     proper application of the federal bankruptcy law, which holds

     Plaintiff to have good and clear title ;

            E . That the Court award the Plaintiff all costs of

     bringing and maintaining the above-styled cause of action ,

     including but not limited to, attorneys fees, if applicable .

             F . That Defendants Countrywide, Deutsche, Silver, Gilroy

     and McCalla Raymer, LLC cease and desist from any further

     action(s) to dispossess or evict Plaintiff from property, until

     this case can be heard by this Court and that each Defendant

     listed above be charged with additional punitive damages of

     r~ n n         nn nn ~        i ~
     Y .~ P v7v ~     vv  e      if           ff i~
                         aG~l 1i ~a.a i I"i~i. ti dispossessed
                                                    u~ N vSScSS 2u or evicted from


I/   property before this case is heard .


                                                    1~
    Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 12 of 20




     G . That the Court grant the Plaintiff any other relief

that the Court deems Plaintiff is entitled to under equity or

that justice may require .




     Respectfully submitted this        C41'   _ day of June ,   2008 .




                                                 ~   ------~


                                  S omo en, Pro Se
                                  7372 Vist Pointe Trail
                                  Stone Mou . ain, Georgia 30087
                                  i 4114-}--T~~-8 - 4 013




                                   12
     Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 13 of 20




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA ~"
                            ATLANTA DIVISION



SOLOMON R . VEREEN,

     Plaintif f,                              CIVIL ACTION FILE
                                              NO .
V.

MAJOR EVERETT, OSMOND CONSULTING,
EHHK CONSTRUCTION, LLC, MANN &
MORAN, PC, IMPAC FUNDING CORP .,
MONICA K . GILROY, ADAM SILVER,
MCCALLA RAYMER, LLC, COUNTRYWIDE
HOME LOANS, DEUTSCHE BANK, JOHN
ROBINSON, GERALD ROEBUCK AND
JEVORA HALL,                             7

           Defendants .




                       VERIFICATION OF COMPLAINT

     Pursuant to Title 28,     United States Code, Section 1746, I,

Solomon R . Vereen, do hereby state that the foregoing Complaint

is true and correct to the best of my knowledge and belief .




     Signed this ~ day of June, 2008 .



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   UNITED STATES BANKRUPTCY COURT                                       Cl e r k o f 5u eriordC o ur t t
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                                                                                                         a ib Cty . Ga .
   SOUTHERN DISTRICT OF NEVI' YORK
                                                                                                                   I I~
   IN RE                                                       Chapter 1 3                           /`
                                                               Case No. Q2-4380 CB


             GERARD ROEBUCK,



                                         Debtor.
                                                     x




    ORDER VACATING PRIOR ORDER OF THIS COURT DATED FEBRUARY 6 . 200 3
   IN G RANTI NG OSMUMQ CQNSUZTI NG -lLC RELIEF FROM AUTOMATIC STAY



             A motion, broughton by notice, by Debtor, GERARD ROEBUCK, for an Order vacating

   Creditor Osmond Consulting, LLC's prior Order dated February 6 , 2003 granting it Relief

   from the Automatic Stay and for other Requested Relief concerning Debtor 's property located

   at 7372 Vista Point Trail, Stone Mountain, GA 30087 of DeKa lb County
             The motion being returnable before this court on July 24, 2003 .

             NOW, UPON THE FILING AND READING of Debtor's Notice of Motion and the

   annexed supporting Affidavit, sworn to July 3, 2003, with exhibits, and the affidavit or proof of

   service of these papers, all appearing satisfactory to this court, the creditor Osmund

   Consulting, LLC failing to appear, and after oral argument before this Court on said date, by

   the Debtor, and at said time and after due deliberation,
             Now, upon the motion of GOLDBERG, SCUDIERI, LlNDENBERG & BLOCK, P C . ,

   attorneys for Debtor, GERARD ROEBUCK, is it hereby

                             ORDERED ADJUDGED AND DECREED

   thatfor good cause shown, khe MOTION is GRANTED, and the this Court's prior Order dated

   February 6, 2003 is hereby vacated FORTHWITH , and it is further


                                                                        C ! rnrh:. e 4,gera rd' motel Ir.' I


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             Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 15 of 20



           ORDERED that this court finds that the transfer of the property located at 7372 Vista Point

           Trail, Stone Mountain, GA 30087 of DeKalb County which took place on January 7, 2003

           was in violation of U . S B . C Section 362 , the automati c stay .



                                                                                       Deed Book 14944 Pg                       798
           So Ordered

                                                                                                   Linda Ca rt er
           Dated New York, New York                                                  Clerk of Su error Court Dekalb Ct y . G a.
                     August 19, 2003                                                   1~~ 11111~~wMM1~M~I1 1~M~~1~ 1#~

                                                         E N T E R.



                                                         lsl Comelius Btackshear ------
                                                         Honorable Cornelius Blackshear,
                                                         United States Bankruptcy Judge



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                                                                        ~ii.:    b"7B,]C case   el1C ' ii sa.:C'd



                                                                        C1eric, US Bankrupt gr Ct+xt, WK'4f

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I hereby certify the wit~in and foregoing to be a true, correct and complete cop of the
original that appears inL                     ; in this office this .-a,~ ~ ''
                                             L11,
                                            ''
                LINDA CARR C.le~-of Supe i r Court Dekalb Gount GA
                                  ..'~(                                    Y~
               By
               B~
                                  ~
                                 Deputy
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                                                                      Clerk
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            Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 16 of 20



       UNITED STATES BANKRUPTCY COURT
       SOUTHERN DISTRICT OF NEW YORK
       --------------------------------------------------------x

~' In re :                                                           Chapter 13

       GERARD                   ROEBUCK                      Case No. 02- 43805 (CB)
                               Debtor.

       --------------------------------------------------------x

                                              NOTICE OF MOTION

       COUNSELOR :


               PLEASE TAKE NOTICE, that upon the application of the Debtor, GERARD ROEBUCK, by

       its undersigned counsel, shall move before the Honorable Comelius Blackshear, United States Bankruptcy

        udge, in the United States Bankruptcy Court for the Southern District ofNew York, One Bowling Green,

       New York, New York, on July 20 , 2003 at 10 AM . or as soonthereafter as counselcanbe heard, for

       an Order
              r

               a vacating the Order Granting Lift of Automatic Stay entered herein dated
                      February 6, 2003,

               b. Setting aside the Deed Under Power of Sale to Osmond Consulting, LLC
                      Deed dated January 7, 2003 , purporting to convey title ofthe Debtor's
                      Property located at 7372 Vista Pomt Trail, Stone Mountain, GA 30087
                      of DeKalb County

               c . granting movant any and all other and father such relief that this Court
                      deems just, proper, equitable and appropriate under all of the
                      circumstances herein . .




       Dated : New York, New York
              July 2, 2003
   Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 17 of 20



              Yours, etc.,

                                               GOLDBERG, SCUDIERI, LINDENBERG &
                                               BLOCK, P .C.
                                               Attorneys for Debtor
                                               45 West 45th Street, Suite 1401
                                               New York, New York 036-4~2
                                               (212)921-1b00 ~ „               J

                                         BY:
                                               Mark K-
TO : Major Everett
      Osmond Consulting, LLC
      5231-E memorial Drive, Ste . 246
       Stone Mountain, GA 30083
      fax : 4041581-035 8

       Jeffrey Sapir
       Chapter 13 Trustee
       399 Knowllwood Road, Ste 102
       White Plains, NY 10603




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                                                         Settlement Dane:   Aunt 1, 20D3-


 ZJN!'IED STATES BANKRUPTCY CaVRT '                                           .
 SaUTE-MR1V DISTRICT Of NEW YORK                                                    -
 ,~_________.~r------ ------------- x
 IN RE:                     Chapter 13
                                   No . 02-43805 CB
                                                                      AFFID AVXT OF SE RVICE
           Gy p ROEBUCK,

                            Debtox,
      --_---- - .~ .--- _._._~                     --- ----x
  STATE OF NEW YORK                    --
                                  ss.:
  COUNTY OF NEW YORK

                    I, THADDECIA ANDREWS, being sworn, say; i am not a party to the action, am over 18
  years of age and work at 45 West 45th Street, suite 1401, New Yarlsy New York 10036-4602.
                    OnNy 25, 2043, Z served the within Notice of Settlement with Order Vacating Prior Order

  of this Court dated February 6,2M in Granting Qsmond Consultingy LLCRelief from Automatic Stay,

  regular First Class Maid, by depositing a €rue copy thereof enclosed itnapost paid wrapper, in an official

  depository under the exclusive care and custody of the United States Postal Service within New York
                           t
  State, addressed to each of the following persons at the last known address set forth after each:*
                                                                                                   me
                             Major Everett
                             Osmond Consulting, LLC
                             5231-B Memorial i7rive, Ste . 246
                             Stone Mountain, GA 30083
                            feffrey Sapir
                            Chapter 13 Trmtee
                            399 Knowuwood Road, Ste . 102
                            White Plains, NY 10603


 Sworn to before me this
 --,I< day of Ju1)A 2003




  blotarY 'publiC -State of Now York
          No . 02L[5981011
    atr¢I'sfled in New Yeryt County
#rimstrission moues June 3G . 20




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       }
                                                  Case 1:08-cv-01969-RWS Document 1 Filed 06/09/08 Page 19 of 20

m      '                                      Nome or Mxr                             A No. 02-43805-ob        Year
                                                                                    UNITED STATES IIAMRUPTCY COURT
                         PLEASE take notice that the within is a (cc rflfrd)        0011TERMi DISTRICT OF NEW YORK
                         hm copy of a                          .
                         duly entered in the office of the clsn3t of tea tyitl ia
                         named cowl on                                              IN 7tE

                        • Dated,                                             ,.                        GERARD ROEBUCK,
                                                 Yom, ow.
                            CrOLDBERG, SCU41ERl, LINUENBERG & BLOCK, P. C .
                                                                                                                      Debtor .
                                       Ojiee and Post OfflceAddrrra
                                   45 W9st4a7H STREET, SUITE 1401
                                   NEW YORK, NEW YORK 10030-4502



                                                                                       NOTICE OF 5aTTLEMENT WITH
                         To                                                         ORDER VACATING PRIOR ORDER OF THIS
                                                                                    COURT DATED ISBRUAR![ 6, 2003 IN
                         Attaxs:oy(a ) for                                          GRANTING OSM4ND CONSULTIRG, LLC
v                                                                                   RELIEF n0M AlfMQMATIC STAR '

                                                                                     Signature (Rule x,34-t, a)
                         PLEASE tab notice that an order

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                    f   far sattlMent to the Haam                                    -     ~x

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5 000-B Sn a pfinger Woods Drive


 Decatur , G eorgia 30035
                                             WARRANTY                                DEED
 S TATE OF GEORGIA

 COUNTY OF DEKALB


       This Inde nture made this 23rd day o [ April, In itie year Two T h ousa nd Three between GE RAL D
 ROEBUCK of t he Cou n ty of DEK A 1_B . ;laic o f C~co t g ia , as party Of parties o f the first p art, h rr einunder called
 Grantor and S OLOMON VEREEN , as party or p a r uLc of the s e cond par t , hereinafter called Grantee (the w ords
 "( a rAl71Vf " and ' ()iRil[eC " to include their fCSPCt tlV1, heirs, successors and ascig n,s where the context requires or permits)-


    W   I   T N     E S S E T H th a t : Grantor, for and m e.nnsiderauoo o f the sum or TEN AND 0 0 / I 00 'S

 ($10 .00) Dollars and other good an d v aluahlL Lonx i dcraunnq in ha n d p ai d at and be Tore the scaling a n d deliv e ry o f
 sheer p r e s enc e t he ie [e7pt whereof iv hereby ec k.rowtcd god, hay gransad . r a rgai ae d , sold, also ned , conveyed and
 c,onlinned, and by these presents docw g ra nt, h a rgam, u ll , alie n , convey and con firm unto the said Grantee .




            See Exhibi t "A^ at tach ed hereto a nd made a part hereof by this reference-

                                                               GEORGIA, DEKALB COUNTY
                                            ;sect to all easerfi "MEO 1l tiq{ Ea fffdAibEGOih
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                                                               TO BE A TRUE. CORRECT AND COMPLETE COPY OF
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                                                                                    is COURT DEKALB COUNTY, GEO RGIA
     TO HA                     TO HOLD th e card l rnu o r par«I n f land , with all and singular the rights . members and
 appuncnancec thereof to the s ame hcmg . Uelnnging, or in anywis e app e rtammQ . to the only proper use, benefit and
 hetrouf tit ins said Cirarncc fore v er m FEE SIMPLE .


     AND THE SAID Grantor will warrant and iomver defend the right and title to the above described property unto
 the said (i ni nl ee a gauist the clause n f all persons whom'4exver


     IN WITNESS WHEREOF, Grantor has hercun t n apt grnutor's hand and soot this day and year first above written


  S i gned , sealed and delivered in the PTCuIILC Of




                                l^LJu'w
  wan es                                                                            GERALD RO SUCK




    "~L_
  Notary p uhloc.
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                            (                                                                                                                         .~'o-_




JOHN" JOYCE
Notary Public, Slate of New York
No 4812208
Qualif4en in !!--i, County                                                                  Lwr Z }~ LGi G~s 'f G
